     Case 16-14528-jkf      Doc 32     Filed 11/15/17 Entered 11/15/17 13:10:16             Desc Main
                                       Document      Page 1 of 2

                                UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF PENNSYLVANIA
       In re:                                  :

       MARIE CHRISTIAN
                                          : Bankruptcy No. 16-14528JKF
                 Debtor(s)                : Chapter 13
                                      *******
                                                  HEARING TO BE HELD:
                                                  Date: December 7, 2017
                                                  Time: 9:30 a.m.
                                                  Place: United States
                                                         Bankruptcy Court
                                                         Courtroom #3
                                                         900 Market Street
                                                         Philadelphia, PA 19107-4295
                                      *******
             TRUSTEE’S MOTION TO DISMISS PURSUANT TO 11 U.S.C. SECTION 1307

To the Honorable Judges of the United States Bankruptcy Court for the Eastern District of Pennsylvania:

1.   Your Movant is Frederick L. Reigle, Esq. the duly qualified and acting Chapter 13 Trustee in the
above-captioned case.

2.    The within case was commenced by the filing of a Chapter 13 petition on 6/27/16.

3.   This Motion to Dismiss has been filed for the following reason(s):

             The Debtor(s) has/have failed to commence or continue making timely payments to the
           Trustee as required by 11 U.S.C. Section 1326.
4.    For the reasons set forth herein, the Trustee believes, and therefore avers, that the within case should
be dismissed.
    Case 16-14528-jkf     Doc 32    Filed 11/15/17 Entered 11/15/17 13:10:16           Desc Main
                                    Document      Page 2 of 2



WHEREFORE, the Movant requests that the Court, after a hearing, enter an Order dismissing this case.

                                                             Respectfully submitted,

Date: November 15, 2017                                       /s/ Polly A. Langdon

                                                              Polly A. Langdon, Esq.
                                                             for
                                                             Frederick L. Reigle, Esq.
                                                             Standing Chapter 13 Trustee
                                                             2901 St. Lawrence Avenue
                                                             P. O. Box 4010
                                                             Reading, Pennsylvania 19606
                                                             Telephone: (610) 779-1313
